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    Fill in this information to identify your case:

    Debtor 1                   Todd Meagher
                               First Name                           Middle Name                          Last Name

    Debtor 2
    (Spouse if, filing)        First Name                           Middle Name                          Last Name


    United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF TEXAS

    Case number           20-40208-mxm11
    (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                        amended filing



   Official Form 106Sum
   Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
   information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
   your original forms, you must fill out a new Summary and check the box at the top of this page.

    Part 1:        Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own

    1.     Schedule A/B: Property (Official Form 106A/B)
           1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $             621,787.00

           1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $              42,500.00

           1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $             664,287.00

    Part 2:        Summarize Your Liabilities

                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe

    2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
           2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $             472,528.00

    3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
           3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $             344,855.00

           3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $             674,178.90


                                                                                                                                        Your total liabilities $               1,491,561.90


    Part 3:        Summarize Your Income and Expenses

    4.     Schedule I: Your Income (Official Form 106I)
           Copy your combined monthly income from line 12 of Schedule I................................................................................                $              20,375.00

    5.     Schedule J: Your Expenses (Official Form 106J)
           Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 9,722.00

    Part 4:        Answer These Questions for Administrative and Statistical Records

    6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

             Yes
    7.     What kind of debt do you have?

            Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                   household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

              Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
               the court with your other schedules.
    Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
   Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
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 Debtor 1      Todd Meagher                                                               Case number (if known) 20-40208-mxm11

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
                                                                                                                                    $   $9,650
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            344,855.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            344,855.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Todd Meagher
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF TEXAS

 Case number            20-40208-mxm11                                                                                                                      Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes. Where is the property?


 1.1                                                                            What is the property? Check all that apply
        2101 Legacy Court
        Street address, if available, or other description
                                                                                   Single-family home                            Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                    Condominium or cooperative
                                                                                  
                                                                                   Manufactured or mobile home                   Current value of the      Current value of the
        Keller                            TX        76248-0000                     Land                                          entire property?          portion you own?
        City                              State              ZIP Code              Investment property                                  $621,787.00                $621,787.00
                                                                                   Timeshare                                     Describe the nature of your ownership interest
                                                                                   Other                                         (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                   Debtor 1 only                                 Fee simple
        Tarrant                                                                    Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                   At least one of the debtors and another        Check    if this is community property
                                                                                                                                    (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $621,787.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1    Make:       Kia                                                                                                      Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Cadenza                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2015                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                   35000           Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        Location: 2101 Legacy Court,
        Keller TX 76248                                         Check if this is community property                                  $15,000.00                 $15,000.00
                                                                     (see instructions)



  3.2    Make:       Hyundai                                                                                                  Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Tuscon                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2010                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                  90,000           Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                                    $7,000.00                  $7,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $22,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes. Describe.....
                                    Furniture and furnishings                                                                                                       $5,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes. Describe.....
                                    4 televisions, 2 computers, 3 cell phones                                                                                       $2,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....
Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
     Yes. Describe.....
                                            Pool table, piano                                                                                                       $4,500.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes. Describe.....
                                            9mm pistol                                                                                                              $1,000.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes. Describe.....
                                            Clothing                                                                                                                $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes. Describe.....
                                            wedding ring, 1 cartier watch                                                                                           $3,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                        $16,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                               Cash                                 $1,000.00




Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 3
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17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                        17.1.    Checking                     Frost Bank                                                              $3,000.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes. Give specific information about them...................
                                          Name of entity:                                                        % of ownership:

                                          Zurra, Inc.                                                                  70          %                  Unknown


                                          FinalResting, LLC                                                            50          %                  Unknown


                                          OpenCabana, LLC                                                              50          %                  Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                        Type of account:                      Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
Official Form 106A/B                                                   Schedule A/B: Property                                                               page 4
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     Yes. Give specific information about them...
                                              Trademark Serial No. 88443382 ("WHEN IT COMES TO CREDIT
                                              WHAT YOU DON'T KNOW CAN HURT YOU")                                                             Unknown


                                              Trademark Serial No. 88216119 ("MYSTORE")                                                      Unknown


                                              Trademark Serial No. 87032558 ("CHECKINMD")                                                    Unknown


                                              Trademark Serial No. 77630846 ("CREDIT411")                                                    Unknown


                                              Trademark Serial No. 77630843 ("CREDIT911")                                                    Unknown


                                              Trademark Serial No. 77360683 ("ID911")                                                        Unknown


                                              Patent 9,442,626 ("Systems, methods and apparatuses for
                                              facilitating content consumption and sharing through geographic
                                              and incentive-based virtual networks")                                                         Unknown


                                              Patent 9,160,782 ("System and method of remotely accessing and
                                              publishing online memorial content")                                                           Unknown


                                              Patent 8,346,575 ("System and methods of automated patient
                                              check-in, scheduling, and prepayment")                                                         Unknown


                                              Copyrights (SEE ATTACHED LIST)                                                                 Unknown


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                 Current value of the
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured
                                                                                                                                claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..

Official Form 106A/B                                                 Schedule A/B: Property                                                        page 5
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31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                             Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $4,000.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes. Go to line 38.


 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes. Go to line 47.

 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 6
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 Debtor 1         Todd Meagher                                                                                                          Case number (if known)   20-40208-mxm11

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................             $621,787.00
 56. Part 2: Total vehicles, line 5                                                                           $22,000.00
 57. Part 3: Total personal and household items, line 15                                                      $16,500.00
 58. Part 4: Total financial assets, line 36                                                                   $4,000.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $42,500.00              Copy personal property total          $42,500.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $664,287.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 7
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 Fill in this information to identify your case:

 Debtor 1                Todd Meagher
                         First Name                         Middle Name                   Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                   Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF TEXAS

 Case number           20-40208-mxm11
 (if known)
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                   4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2101 Legacy Court Keller, TX 76248                             $621,787.00                                              Tex. Const. art. XVI, §§ 50, 51,
      Tarrant County                                                                                                           Tex. Prop. Code §§
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to   41.001-.002
                                                                                            any applicable statutory limit

      2015 Kia Cadenza 35000 miles                                    $15,000.00                                              Tex. Prop. Code §§
      Location: 2101 Legacy Court, Keller                                                                                      42.001(a)(1), (2), 42.002(a)(9)
      TX 76248                                                                             100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                           any applicable statutory limit


      2010 Hyundai Tuscon 90,000 miles                                 $7,000.00                                              Tex. Prop. Code §§
      Line from Schedule A/B: 3.2                                                                                              42.001(a)(1), (2), 42.002(a)(9)
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

      Furniture and furnishings                                        $5,000.00                                              Tex. Prop. Code §§
      Line from Schedule A/B: 6.1                                                                                              42.001(a)(1), (2), 42.002(a)(1)
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

      4 televisions, 2 computers, 3 cell                               $2,000.00                                              Tex. Prop. Code §§
      phones                                                                                                                   42.001(a)(1), (2), 42.002(a)(1)
      Line from Schedule A/B: 7.1                                                          100% of fair market value, up to
                                                                                            any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Todd Meagher                                                                                Case number (if known)     20-40208-mxm11
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Pool table, piano                                                $4,500.00                                                  Tex. Prop. Code §§
     Line from Schedule A/B: 9.1                                                                                                  42.001(a)(1), (2), 42.002(a)(8)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     9mm pistol                                                       $1,000.00                                                  Tex. Prop. Code §§
     Line from Schedule A/B: 10.1                                                                                                 42.001(a)(1), (2), 42.002(a)(7)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothing                                                         $1,000.00                                                  Tex. Prop. Code §§
     Line from Schedule A/B: 11.1                                                                                                 42.001(a)(1), (2), 42.002(a)(5)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     wedding ring, 1 cartier watch                                    $3,000.00                                                  Tex. Prop. Code §§
     Line from Schedule A/B: 12.1                                                                                                 42.001(a)(1), (2), 42.002(a)(6)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Todd Meagher
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF TEXAS

 Case number           20-40208-mxm11
 (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                  If any
 2.1     PHH Mortgage Services                    Describe the property that secures the claim:               $472,528.00               $621,787.00           Unknown
         Creditor's Name
                                                  2101 Legacy Court Keller, TX 76248
                                                  Tarrant County
         P.O. Box 66002
                                                  As of the date you file, the claim is: Check all that
         Lawrence Township, NJ                    apply.
         08648                                     Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a         Other (including a right to offset)           Deed of Trust
       community debt

 Date debt was incurred                                    Last 4 digits of account number        9839




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
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 Debtor 1 Todd Meagher                                                                                     Case number (if known)   20-40208-mxm11
              First Name                  Middle Name                     Last Name


        Tarrant County Tax
 2.2                                                                                                                Unknown            $621,787.00        Unknown
        Assessor                                   Describe the property that secures the claim:
        Creditor's Name
                                                   2101 Legacy Court Keller, TX 76248
                                                   Tarrant County
                                                   As of the date you file, the claim is: Check all that
        100 E. Weatherford                         apply.
        Fort Worth, TX 76196                        Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another  Judgment lien from a lawsuit
  Check if this claim relates to a         Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                $472,528.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                               $472,528.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Todd Meagher
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF TEXAS

 Case number           20-40208-mxm11
 (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
                                                                                                                            $344,855.0
 2.1          Internal Revenue Service                               Last 4 digits of account number                                 0              Unknown                 Unknown
              Priority Creditor's Name
              1100 Commerce St.                                      When was the debt incurred?           2000-2007
              Room 121
              Dallas, TX 75242
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                      Contingent
         Debtor 1 only
                                                                      Unliquidated
         Debtor 2 only
         Debtor 1 and Debtor 2 only                                  Disputed
                                                                     Type of PRIORITY unsecured claim:
         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt
        Is the claim subject to offset?
                                                                      Taxes and certain other debts you owe the government
                                                                      Claims for death or personal injury while you were intoxicated
         No
         Yes                                                         Other. Specify


 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 5
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 Debtor 1 Todd Meagher                                                                                   Case number (if known)        20-40208-mxm11

 4.1      California Franchise Tax Board                             Last 4 digits of account number                                                      $25,122.00
          Nonpriority Creditor's Name
          300 South Spring Street                                    When was the debt incurred?
          Suite 5704
          Los Angeles, CA 90013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.2      CITIBANK                                                   Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          388 Greenwich Street                                       When was the debt incurred?
          New York, NY 10013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify Mastercard

 4.3      GHER Solutions, LLC                                        Last 4 digits of account number                                                     $400,000.00
          Nonpriority Creditor's Name
          950 E. State Highway 114                                   When was the debt incurred?
          Suite 160
          Southlake, TX 76092
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 5
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 Debtor 1 Todd Meagher                                                                                   Case number (if known)        20-40208-mxm11

 4.4      Gordon & Sykes                                             Last 4 digits of account number                                                      $30,000.00
          Nonpriority Creditor's Name
          1320 University Dr.                                        When was the debt incurred?
          Suite 806
          Fort Worth, TX 76107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify Legal services

 4.5      HEB Grocery Company, LP                                    Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          646 S. Flores St.                                          When was the debt incurred?
          San Antonio, TX 78204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Claim for attorneys' fees in litigation
                                                                                          pending under Cause No. 4:17-cv-02810 in
           Yes                                                       Other. Specify     District Court, Southern District of Texas

 4.6      Karen Tripp                                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          P.O. Box 1301                                              When was the debt incurred?
          Houston, TX 77251
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify Legal services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 5
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 Debtor 1 Todd Meagher                                                                                   Case number (if known)        20-40208-mxm11

 4.7      Not Just Patents LLC                                       Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Wendy Peterson                                         When was the debt incurred?
          1248 Victoria St. N.
          Saint Paul, MN 55117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify Legal services

          Thompson Coe Cousins & Irons
 4.8      LLP                                                        Last 4 digits of account number       1726                                          $119,056.90
          Nonpriority Creditor's Name
          One Riverway                                               When was the debt incurred?
          Suite 1400
          Houston, TX 77056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify Legal services

 4.9      Tracy Hyndman                                              Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          7 Castlebar Place                                          When was the debt incurred?           05/10/2018
          Alameda, CA 94502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify Promissory Note No. 1




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 5
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        Case
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                                    Document      Page 26 of 36
 Debtor 1 Todd Meagher                                                                                    Case number (if known)        20-40208-mxm11

 4.1
 0         Tracy Hyndman                                             Last 4 digits of account number                                                              $50,000.00
           Nonpriority Creditor's Name
           7 Castlebar Place                                         When was the debt incurred?            05/11/2018
           Alameda, CA 94502
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify Promissory Note No. 2

 Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pirkey Barber PLLC                                            Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 600 Congress Avenue, Suite 2120                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Austin, TX 78701
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Vinson & Elkins LLP                                           Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 c/o Jason M. Powers                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 1001 Fannin St.
 Ste. 2500
 Houston, TX 77002
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                         0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                 344,855.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                       0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                       0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                 344,855.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.       $                         0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                 674,178.90

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                 674,178.90




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 5 of 5
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                                       Document      Page 27 of 36
 Fill in this information to identify your case:

 Debtor 1                Todd Meagher
                         First Name                         Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF TEXAS

 Case number           20-40208-mxm11
 (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      Atmos Energy                                                            Gas
              5430 LBJ Fwy.
              Dallas, TX 75240

     2.2      Cirro Energy                                                            Electric
              2745 Dallas Pkwy
              Ste 200
              Plano, TX 75093

     2.3      City of Keller                                                          Water
              1100 Bear Creek Pkwy
              Keller, TX 76248

     2.4      Frontier Communications                                                 Internet and television contract
              401 Merritt 7
              Norwalk, CT 06851




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
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                                      Document      Page 28 of 36
 Fill in this information to identify your case:

 Debtor 1                   Todd Meagher
                            First Name                           Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF TEXAS

 Case number           20-40208-mxm11
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                     amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                 Yes.

                       In which community state or territory did you live?           Texas           . Fill in the name and current address of that person.
                       Irene Alexis Meagher
                       2101 Legacy Court
                       Keller, TX 76248
                       Name of your spouse, former spouse, or legal equivalent
                       Number, Street, City, State & Zip Code


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         Irene Alexis Meagher                                                                  Schedule D, line
                2101 Legacy Court                                                                     Schedule E/F, line         2.1
                Keller, TX 76248
                                                                                                      Schedule G
                                                                                                     Internal Revenue Service



    3.2         Irene Alexis Meagher                                                                  Schedule D, line        2.1
                2101 Legacy Court                                                                     Schedule E/F, line
                Keller, TX 76248
                                                                                                      Schedule G
                                                                                                     PHH Mortgage Services




Official Form 106H                                                               Schedule H: Your Codebtors                                      Page 1 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
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 Debtor 1 Todd Meagher                                                              Case number (if known)   20-40208-mxm11


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.3      Irene Alexis Meagher                                                         Schedule D, line      2.2
             2101 Legacy Court                                                            Schedule E/F, line
             Keller, TX 76248
                                                                                          Schedule G
                                                                                         Tarrant County Tax Assessor



    3.4      Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line      4.2
             Keller, TX 76248
                                                                                          Schedule G
                                                                                         CITIBANK



    3.5      Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line      4.3
             Keller, TX 76248
                                                                                          Schedule G
                                                                                         GHER Solutions, LLC



    3.6      Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line      4.4
             Keller, TX 76248
                                                                                          Schedule G
                                                                                         Gordon & Sykes



    3.7      Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line      4.5
             Keller, TX 76248
                                                                                          Schedule G
                                                                                         HEB Grocery Company, LP



    3.8      Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line      2.1
             Keller, TX 76248
                                                                                          Schedule G
                                                                                         Internal Revenue Service



    3.9      Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line      4.6
             Keller, TX 76248
                                                                                          Schedule G
                                                                                         Karen Tripp



    3.10     Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line      4.7
             Keller, TX 76248
                                                                                          Schedule G
                                                                                         Not Just Patents LLC




Official Form 106H                                                   Schedule H: Your Codebtors                                   Page 2 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
        Case
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 Debtor 1 Todd Meagher                                                              Case number (if known)   20-40208-mxm11


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.11     Irene Alexis Meagher                                                         Schedule D, line         2.1
             2101 Legacy Court                                                            Schedule E/F, line
             Keller, TX 76248
                                                                                          Schedule G
                                                                                         PHH Mortgage Services



    3.12     Irene Alexis Meagher                                                         Schedule D, line         2.2
             2101 Legacy Court                                                            Schedule E/F, line
             Keller, TX 76248
                                                                                          Schedule G
                                                                                         Tarrant County Tax Assessor



    3.13     Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line        4.8
             Keller, TX 76248
                                                                                          Schedule G
                                                                                         Thompson Coe Cousins & Irons LLP



    3.14     Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line        4.9
             Keller, TX 76248
                                                                                          Schedule G
                                                                                         Tracy Hyndman



    3.15     Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line        4.10
             Keller, TX 76248
                                                                                          Schedule G
                                                                                         Tracy Hyndman



    3.16     Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line
             Keller, TX 76248
                                                                                          Schedule G   2.4
                                                                                         Frontier Communications



    3.17     Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line
             Keller, TX 76248
                                                                                          Schedule G         2.1
                                                                                         Atmos Energy



    3.18     Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line
             Keller, TX 76248
                                                                                          Schedule G         2.2
                                                                                         Cirro Energy




Official Form 106H                                                   Schedule H: Your Codebtors                                   Page 3 of 4
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        Case
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 Debtor 1 Todd Meagher                                                              Case number (if known)   20-40208-mxm11


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.19     Irene Alexis Meagher                                                         Schedule D, line
             2101 Legacy Court                                                            Schedule E/F, line
             Keller, TX 76248
                                                                                          Schedule G         2.3
                                                                                         City of Keller




Official Form 106H                                                   Schedule H: Your Codebtors                                   Page 4 of 4
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Fill in this information to identify your case:

Debtor 1                      Todd Meagher

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF TEXAS

Case number               20-40208-mxm11                                                                Check if this is:
(If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                               Not employed
       employers.
                                             Occupation            Entrepreneur                                Consultant
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Self-employed                               Self-employed

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $            0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
      Case
      Case 20-40208-mxm11  Doc2365Filed
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Debtor 1   Todd Meagher                                                                          Case number (if known)    20-40208-mxm11


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00   $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00   $               0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00   $               0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00   $               0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00   $               0.00
     5e.    Insurance                                                                     5e.        $              0.00   $               0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00   $               0.00
     5g.    Union dues                                                                    5g.        $              0.00   $               0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 + $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00   $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00   $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $      9,650.00       $      10,725.00
     8b. Interest and dividends                                                           8b.        $          0.00       $           0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $               0.00
     8e. Social Security                                                                  8e.        $              0.00   $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $               0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          9,650.00       $       10,725.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              9,650.00 + $      10,725.00 = $          20,375.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $          20,375.00
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
     Case
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Fill in this information to identify your case:

Debtor 1                Todd Meagher                                                                       Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS                                                 MM / DD / YYYY

Case number           20-40208-mxm11
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            Daughter                             16               Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             3,700.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            110.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                              0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                            100.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
      Case
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Debtor 1     Todd Meagher                                                                              Case number (if known)      20-40208-mxm11

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                650.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                350.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                600.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,350.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               200.00
10.   Personal care products and services                                                    10. $                                                 50.00
11.   Medical and dental expenses                                                            11. $                                                150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 125.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 185.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                 142.00
      15b. Health insurance                                                                15b. $                                                 610.00
      15c. Vehicle insurance                                                               15c. $                                               1,400.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       9,722.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       9,722.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              20,375.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              9,722.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             10,653.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
          Case
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 Fill in this information to identify your case:

 Debtor 1                    Todd Meagher
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF TEXAS

 Case number              20-40208-mxm11
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Todd Meagher                                                          X
              Todd Meagher                                                              Signature of Debtor 2
              Signature of Debtor 1

              Date       February 12, 2020                                              Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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